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                      UNITED STATES COURT OF APPEALS
                          FOR THE TENTH CIRCUIT




                                                   Case No. 12-1299

   v.
                                                          Appellant/Petitioner's Opening
                                                          Brief




                           NOTICE AND INSTRUCTIONS

    If you proceed on appeal pro se, the court will accept a properly completed
Form A-12 in lieu of a formal brief. This form is intended to guide you in presenting
your appellate issues and arguments to the court. If you need more space, additional
pages may be attached. A short statement of each issue presented for review should
precede your argument. Citations to legal authority may also be included. This brief
should fully set forth all of the arguments that you wish the court to consider in
connection with this case.

    New issues raised for the first time on appeal generally will not be considered. An
appeal is not a retrial but rather a review of the proceedings in the district court. A copy
of the completed form must be served on all opposing counsel and on all unrepresented
parties and a proper certificate of service furnished to this court. A form certificate is
attached.
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                                    COURT OF APPEAL FOR THE lOTH CIRCUIT


                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO


 Civil Action No. 12-1299


Cynthia Pinkey 89688
          Plaintiff,

 v.
Adams County Detention facility(Sherift),(John Doe's)(Jane Doe's)
          Defendant.



                                         OPENING BRIEFS




 On or about February 1998, while on writ from Department of Corrections to Adams County Detention Facility, for a
child custody hearing. I was housed in the booking area, their were 3 male inmates their also waiting to be booked in
the cell doors were next to each other and they were not secured.

There were several Sgt's, nurses, and other staff members including deputies present standing around talking, laughing
and doing other things, some weren't work related.

During this time, a male offender entered the cell I was in, and pushed me to the back of the cell by the toilet area, out
of the view of the staff, and proceeded to rape me, their was another male offender standing outside of the cell door
watching for this male offender to warn him if staff comes.

I allowed myself to be booked in, then I was escorted to the female housing area, as soon as I entered the area, I told
the female Deputy that,"I was raped in booking", she immediately called the Sgt. From booking and he began yelling
at me and stating,"that I was lying because they were in the area at all times". They then took me to medical and had
me sit there alone , while I waited for detectives.

I was then taken to the hospital, for a sexual assault examination, and the doctor determined I had been sexually
assaulted and DNA was found from Uriel Antonio Mata-Rivas the offender in booking.

The detectives had me point him out in a photo line-up, and he was charged with sexual assault.

Shortly after I had to go to court to testify at his preliminary hearing, and he took a plea for sexual assault and has to
register as a sex offender.

March of2012, Adams County filed a writ of Habeas Corpus pro-se'deum so that I would appear in court because Uriel
Mata-Rivas filed a petition to not register as a sex offender, I had to go and relive this incident, because the judge
wanted to hear what I had to say. But he could have requested that in writing. Victims advocate from Adams County
never contacted me, mental health never contacted me, nor did the parole board when Uriel Mata-Rivas was released
from prison. Uriel Mata-Rivas never showed in Court and the judge stated, "he was prepared to deny his petition
anyways. I told the judge if he really was sorry he had many years to contact me and he never did.
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This petitioner has been suffering ever since. At the time of the incident, I remember asking the doctor at the hospital,"
Why did I smell so bad?" and he told me that," some men smell like that". I have never been able to get that smell
out of my senses and I think I am totally disgusting. I have severe PTSD, and OCD everything has to be clean and in
its proper place.

I have attempted on numerous occasions to handle this issue, but it appears that all those in authority doesn't want to
protect me, they just want to see me harmed in any way, and it has caused me numerous problems while incarcerated.

Judge Boyd of the United States District Court continuously toss out these types of severe issues that are not frivolous
because I am indigent, which is telling me I am not entitled to relief.
This petitioner also would like to legally change her name so that the perpetrator could not find her.

This petitioner is requesting counsel be appointed to her, a hearing to discover her indigence, deposition, and the court
to order the names of the staff that was on at the time of the incident, and the name of the sheriff so she would not have
to John Doe and Jane Doe, and the criminal case# of the perpetrator Uriel Antonio Mata-Rivas.

The petitioner is not suing Adams County Sheriff Dept. She is suing the Adams County Detention Facility Sheriff, the
Deputies that were on duty, The Sgt. That was on duty and the other staff members that were there at the time, but she
does not have the names of these staff members or the arrest report and she cannot obtain it without a court order.

The petitioner is suing for compensatory damages, punitive damages, and mental health care for as long as needed and
attorney fees if court appoints counsel. She has attempted to obtain counsel, but it has been futile.




                                     CERTIFICATE OF MAILING:

I HEREBY CERTIFY THAT          m~i5~,DAY 0~.6'>t1M012. I MAILED A TRUE AND ACCURATE COPY
OF OPENING BRIEFS PLUS A            TACHMENT~UNITED STATES POST OFFICE, POSTAGE PREPAID TO:
UNITED STATES COURT OF APPEALS FOR THE lOTH CIRCUIT
Byron White United States Court house
1823 Stout St.
Denver, Colorado 80257

Adams County Attorney Office
450 S. 4th Ave.
Brighton, Colorado 80601




 Note: This petitioner request the court for discretion when she obtains the court records in order to amend her briefs.




  (Rev. 04/15/02)
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4. Do you think the district court applied the wrong law? If so, what law do you
want applied? \,/ ,, 0 ~     .
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5. Did the district court incorrectly decide the facts? If so, what facts?
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6. Did the district court fail to consider important grounds for relief? If so, what
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7. Do you feel that there are any other reasons why the district court's judgment
wa~ wrong? If so, what?'\'"'h\.C:S ~ \ ~ l O \\)Jl.)c_ LS \ \flclLC}.e.-'tr:-\- OV&A_
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                                      CERTIFICATE OF SERVICE

         I hereby certify that on                                       I sent a copy of

      the Appellant/Petitioner's Opening Briefto
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- UU
      (Opposing Party or Attorney)
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      ------------------------------------, the last known address/email
      address, by _______________
                   (state method of service)




      Date




                                   CERTIFICATE OF COMPLIANCE

      I certify that the total number of pages I am submitting as my
      Appellant/Petitioner's Opening Brief is 30 pages or less or alternatively, if the total
      number of pages exceeds 30, I certify that I have counted the number of words and
      the total is 1'_:5/otp&, , which is less than 14,000. I understand that if my
      Appellant/Petitioner's Opening Brief exceeds 14,000 words, my brief may be
      stricken and the appeal dismissed.




      Date




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